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Fill in this information to identify your case:

 

| United States Bankruptcy Court for the:

Southern District of Florida
| Case number (If known): Chapter you are filing under:
Chapter 7
QO Chapter 11
QO Chapter 12 eee
Q Gheotset6 (J Check if this is an
amended filing

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 71 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debfor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Ea Identify Yourself

4. Your full name

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

Write the name that is on your John
government-issued picture

 

 

 

identification (for example, Faetname Fst name
your driver’s license or
passport). Middle name Middle name
Bring your picture Oconnor
identification to your meeting = Last name Last name
with the trustee. Jr
Suffix (Sr., Jr, I, Ill) Suffix (Sr., Jr., Il, III)

2. All other names you

 

 

 

 

 

 

have used in the last 8 Fistname First name
years
Include your married or Middle name Middle name
maiden names.
Last name . Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
your Social Security TO a, Ro BO I ar ree |
number or federal OR OR
Individual Taxpayer
Identification number 9xx - xe -_ = 9x - xm -_
(ITIN)

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 1
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Debtor 1

John Oconnor

 

First Name

Middle Name

Last Name

Case number (i known).

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

About Debtor 1:

(4 | have not used any business names or EINs.

About Debtor 2 (Spouse Only in a Joint Case):

(4 | have not used any business names or EINs.

 

Business name

Business name

 

 

 

 

 

 

Business name Business name
i eS i SS
EIN ea a eee eS
5. Where you live If Debtor 2 lives at a different address:
| |
18944 SW 313rd Terrace |
Number Street Number Street |
homestead FL 3303 |
City State_ZIP Code City State ZIPCode
Miami-Dade
County County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

| 6. Why you are choosing

this district to file for
bankruptcy

 

Number Street Number Street

P.O. Box P.O. Box |
City State ZIP Code City State ZIPCode
Check one: Check one: |

A Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

OQ) | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(] | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

page 2
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John Oconnor

First Name

Debtor 1

Middle Name

Case number (rknown),
Last Name

Tell the Court About Your Bankruptcy Case

 

7. The chapter of the
Bankruptcy Code you
are choosing to file
under

8. How you will pay the fee

9. Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

11. Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

Chapter 7

() Chapter 11
() Chapter 12
() Chapter 13

4 | will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

) | need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A),

Q | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

i4 No
Ch Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
id No
QC Yes. Debtor Relationship to you
District When Case number, if known
MM/DD /YYYY
Debtor Relationship to you
District When Case number, if known
MM/DD/YYYY
CINo. Goto line 12.
Wd Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

id No. Go to line 12.

C) Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it with
this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Debtor 4 John Oconnor

First Name Middle Name

Case number (if known),
Last Name

Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor

13.

 

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of smaif
business debtor, see

11 U.S.C. § 101(51D).

ee
Yes. Name and location of business

aa e
aoe Olonner Service

Name of business, if any

KA gi SIS TTewace

Number

 

_ttomts dee EL. SOLD

State ZIP Code

Check the appropriate box to describe your business:

CD Health Care Business (as defined in 11 U.S.C. § 101 (27A))
Q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
CJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

LI Commodity Broker (as defined in 11 U.S.C. § 101(6))

iene or the above

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

No. ! am not filing under Chapter 11.

CI No. Iam filing under Chapter 11, but | am NOT a small business debtor according to the definition in
the Bankruptcy Code.

Q) Yes. 1am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14,

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Form 101

44 No
C) Yes. What is the hazard?

 

 

If immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Debtor 1 John Oconnor

First Name Middle Name

~ Last Name

Case number (it known),

Gag bein Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

Wf | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency,

() | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

QI | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do nat do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CJ 1am not required to receive a briefing about
credit counseling because of:

(J Incapacity. | have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

CJ Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

CI Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only ina Joint Case):

You must check one:

if | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

2) I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Cl | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file,
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C1 | am not required to receive a briefing about
credit counseling because of:

L] Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

UI Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C0 Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court,

Bankruptcy page 5
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Debtor 1 John Oconnor

Case number (itknown)

 

First Name

Middle Name

Last Name

 

ee =e: These Questions for Reporting Purposes

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after

any exempt property is
excluded and
administrative expenses

are paid that funds will be

available for distribution
to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

For you

Official Form 101

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

CI No. Go to line 16b.
WA Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

14 No. Go to line 16c.
C) Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

LJ No, [am not filing under Chapter 7. Go to line 18.

id Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

vw No
QO) Yes
id 1-49 Q) 1,000-5,000 Q) 25,001-50,000
CI 50-99 () 5,001-10,000 () 50,001-100,000
LJ 100-199 Q) 10,001-25,000 CJ More than 100,000
Q) 200-999 _ = se ee ete
C) $0-$50,000 CJ $1,000,001-$10 million () $500,000,001-$1 billion

CI $1,000,000,001-$10 billion
Q) $10,000,000,001-$50 billion
UO More than $50 billion

CI $10,000,001-$50 million
CY $50,000,001-$100 million
QO) $100,000,001-$500 million

iA $50,001-$100,000
() $100,001-$500,000
C) $500,001-$1 million
CI $500,000,001-$1 billion

C) $1,000,000,001-$10 billion

Q) $10,000,000,001-$50 billion

C) More than $50 billion

CQ) $1,000,001-$10 million

LJ $10,000,001-$50 million
CI $50,000,001-$100 million
C) $100,000,001-$500 million

(4 $0-$50,000

C) $50,001-$100,000
C) $100,001-$500,000
Q) $500,001-$1 million

| have examined this petition, and | declare under penalty of perjury that the information provided is true and
correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and | did not Pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection

with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S. & §§ 152, 1341, 1519, and 3571.
oe

x tO Cgym (je. *

hf!

MM / DD /Y

    
 
 

 

Signature of Debtor 2

 

Executed on Executed on

MM / DD /YYYY

Voluntary Petition for Individuals Filing for Bankruptcy page 6
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Debtor 1 John Oconnor

First Name Middle Name

For your attorney, if you are
represented by one

If you are not represented
by an attorney, you do not
need to file this page.

Official Form 101

Case number (known
Last Name

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
knowledge, ran inquiry that the information in the schedules filed with the petition is incorrect.

Wea wwe 10/25/2014
ee for Debtor

 

 

MM / DD /YYYY

Jason Abolsky

Printed name

Abolsky & Associates P.A

Firm name

2601 NW 16th ST. RD.
Number Street

Ste. 832

Miami FL 33125
City State ZIP Code

Contact phone 305-570-9705 Email address J480N @abolskylegal.com

91287 FL
Bar number State

Voluntary Petition for Individuals Filing for Bankruptcy page 7
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Fill in this information to identify your case:

Debtor 4 JOHN OCONNOR JR

First Name Middle Name

Debtor 2
(Spouse, if filing) First Name Middle Name

 

United States Bankruptcy Court for the: Southern District of Florida

 

Case number LJ Check if this is an
{town amended filing

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

EERE summarize Your Assets

Your assets

Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)

 

 

 

 

 

 

 

1a. Copy line 55, Total real estate, from Schedule A/B.........ccoo-ssscovssssesssssusnsesessunsessissassesssetssnsutssiuntsseeesseeseeeeeece $ 0
1b. Copy line 62, Total personal property, from Schedule DI, sion cant coaee hrnmah prety lc nunicsussmnevaneeres oe May Th remvemtas araveite sees $ 11160
1c. Copy line 63, Total of all property on Schedule A/B ooecccccccccccccccccscccccccsees $ 11160
Summarize Your Liabilities
Your liabilities

Amount you owe
2. Schedule D; Creditors Who Have Claims Secured by Property (Official Form 106D)

6
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $ sa BOO

3, Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F........cccccecseesssssssessessssesseeseen

 

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule Eveninger rst) a

#9 68,626

 

 

 

 

 

 

Your total liabilities $ 75,426
| Part 3: Eee Your Income and Expenses
4. Schedule I: Your income (Official Form 1061) 2360
Copy your combined monthly income from line 12 of Schedule fn heaseeae SL athontet cecensenctasiud mmenrnaerentiauner arse essen aelies $

 

5. Schedule J: Your Expenses (Official Form 106)
Copy your monthly expenses from line 22c of Schedule al creases sine SteC gaa SITE Swern yaunnarenngamnbeeblvseieiaanannatlovenovieestincten $ 2216

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
Case 19-18813-RAM Doci1_ Filed 06/29/19 Page 9 of 41

Debtor 4 JOHN OCONNOR JR

Case number (if known)
First Name Middle Name Last Name

 

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
C) No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
Yes

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

L) Your debts are not primarily consumer debts. You have nothing to report on this part of the form, Check this box and submit
this form to the court with your other schedules.

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 2800

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

 

 

Total claim
From Part 4 on Schedule E/F, copy the following:
_ 0
9a. Domestic support obligations (Copy line 6a.) $
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) §. Q
_ ; coin. 0
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) §.
9d. Student loans. (Copy line 6f.) $
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +s 0
9g. Total. Add lines 9a through 9f, §. 0

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2
Case 19-18813-RAM Doc1_ Filed 06/29/19

Fillin this information to identify your case and this filing:

John Oconnor Jr

First Name

Debtor 1

 

Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: Southern District of Florida

Case number

 

 

 

Official Form 106A/B
Schedule A/B: Property

 

Page 10 of 41

CJ Check if this is an
amended filing

12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

EEE ve scrive Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

WY No. Go to Part 2.

CJ Yes. Where is the property?

What is the property? Check ail that apply.
rf Single-family home

(2 Duplex or multi-unit building
(J Condominium or cooperative
C] Manufactured or mobile home
Q) Lang

CD investment property

C) Timeshare

Q) other

TA.
Street address, if available, or other description

 

 

 

City State ZIP Code

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property,

Current value of the Current value of the
entire property? portion you own?
$ 3.

Describe the nature of your ownership
interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.

Who has an interest in the property? Check one.

CD Debtor 4 only

C) Debtor 2 only

C) Debtor 4 and Debtor 2 only

(7 At least one of the debtors and another

MIAMI-DADE
County

 

 

QJ Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

If you own or have more than one, list here:

What is the property? Check ail that apply.
C) Single-family home

Q) Duplex or multi-unit building

Q) Condominium or cooperative

1.2.
Street address, if available, or other description

 

 

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

 

 

LJ Manufactured or mobile home entire property? portion you own?
CJ Lang $ $ 0
(J Investment property
: Describe the nature of your ownership
City State ZIP Code 2 ‘Mioaeeniere interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
Q) Debtor 1 only
County C) Debtor 2 only

C) Debtor 1 and Debtor 2 only
CJ Atleast one of the debtors and another

Q) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Official Form 106A/B Schedule A/B: Property

page 1
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Debtor 4 John Oconnor Jr

 

First Name Middle Name

1.3.

Last Name

 

Street address, if available, or other description

 

 

City State ZIP Code

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, inc
you have attached for Part 1. Write that number here. ............

BERS vescrive Your Vehicles

What is the property? Check all that apply.
Q Single-family home

QO Duplex or multi-unit building

() Condominium or cooperative

() Manufactured or mobile home

Q) Land

C) Investment property

Q Timeshare

Q) other

 

Who has an interest in the property? Check one.
C) Debtor 1 only

C) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

CI At least one of the debtors and another

Case number (it inown),

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 5
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

C) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

luding any entries for pages

 

el? -06

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

O No

W Yes

3.1. Make: Toyota
Model: Tundra
Year: 2013

Approximate mileage:
Other information:

11600

 

 

 

 

If you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.
© Debtor 1 only

C Debtor 2 only

QQ Debtor 4 and Debtor 2 only

C) At least one of the debtors and another

Cd Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
Debtor 1 only

(J Debtor 2 only

CQ Debtor 4 and Debtor 2 only

(CI At least one of the debtors and another

CI Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

5 6,800 ¢ 6,200

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

. Current value of the Current value of the

entire property? portion you own?

page 2
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Who has an interest in the property? Check one.

Debtor 4 John Oconnor Jr
First Name Middle Name Last Name
3.3, Make:
Model: (2) Debtor 1 only
LL) Debtor 2 only
Year:

Approximate mileage:
Other information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

4

C) Debtor 4 and Debtor 2 only
LJ At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CI Debtor 4 only

QC) Debtor 2 only

C) Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

CJ Check if this is community property (see
instructions)

Case number (if known)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

YW No
QO) Yes

4.1. Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:
4.2, Make:

Model:

Year:

Other information:

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

Who has an interest in the property? Check one.
C) Debtor 1 only

CJ Debtor 2 only

C) Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

() Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
LJ Debtor 4 only

C) Debtor 2 only

CJ Debtor 4 and Debtor 2 only

() At least one of the debtors and another

() Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

6,200

page 3

 
John OconndrdS€ 19-18813-RAM Doc1 Filed 06/29/19 Page 13 of 41

Debtor 1 Case number (if known)

 

First Name Middle Name Last Name

eligi Describe Your Personal and Household Items

 

Do you own or have any legal or equitable interest in any of the following items?

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
No — a a en se a = a
C] Yes. Deseribe......... §

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

QO) No aan ood

 

Yes. Describe... Televisions, dvd player, laptop, cd player, stereo. ==~=~*~CS*S*S le 300

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
4 No LSS eee ees
QI Yes. Describe..........| collectible currency

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

No a

Q) Yes. Describe.......... |
10. Firearms

Examples: Pistols, rifles, shotguns, ammunition, and related equipment

No etree ee es be ie t,t 4

OQ) Yes. Describe...
11,Clothes

Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

CI No rr es ,

id Yes. Describe........., everyday clothes, shoes |

Pec a oe ae ese eccentric pre = TA = aril

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,

gold, silver
Ww No _-—_—_— ee ini mike ie $n
C) Yes. Describe..........! |

13. Non-farm animals
Examples: Dogs, cats, birds, horses

id No
Q) Yes. Describe...........

14. Any other personal and household items you did not already list, including any health aids you did not list

id No SS — a — = ee ania - ee a ae i — —— — es Sa
C] Yes. Give specific |
information. Fe wansial

$ 500

 

$ 1500

 

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
ROT Pear tSe: WTI RAE UNBAN LES... seceenesctserccrorternessins ens orb tse esmttetanachevanvcciavrnveectbiocns copia ctechepeseh wise eabins, cnstissdnl >

 

$500

 

Official Form 106A/B Schedule A/B: Property

page 4

 
Case 19-18813-RAM Doci1_ Filed 06/29/19 Page 14 of 41
Deport John Oconnor Jr
First Name Middle Name Last Name

ey Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

Case number (rknawn)

 

Current value of the

 

 

 

 

 

 

 

 

 

 

portion you own?
Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
CO No
PR mal mosmnmmrssessssonensm peice secundaria ed asnceltn le pytaatin uaa teaecace 168 occa octbebocs: $ 600
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
QC) No
2 1 Institution name:
17.1. Checking account: Center State -7889 $ 1200
17.2. Checking account: $ 560
17.3. Savings account: Center State-2781 $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7, Other financial account: $

 

17.8. Other financial account:

 

17.9. Other financial account:

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

YW No

OD Ves... Institution or issuer name:

 

<A

 

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

4 No Name of entity: % of ownership:
Q) Yes. Give specific

 

 

information about ”
WIG scacticcnsnucan %
%

 

Official Form 106A/B Schedule A/B: Property

Ll

bade 5
ase 19-18813-RAM Doc1 Filed 06/29/19 Page 15 of 41
r

C
Debtor1 John Oconnor Case number ¢irknown)

First Name Middle Name Last Name

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Yi No

(] Yes. Give specific Issuer name:
information about

 

>
3
-

 

 

 

 

 

 

 

 

 

 

 

$
$
21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
W No
Q) Yes. List each
account separately. Type of account: Institution name:
401(k) or similar pian: $
Pension plan: $.
IRA: $
Retirement account: $
Keogh: 3.
Additional account: $
Additional account: $

 

 

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

 

 

id No

eS Institution name or individual:
Electric: $.
Gas: $
Heating oil:

 

Security deposit on rental unit:

 

Prepaid rent:

 

i

 

 

Telephone:
Water:

 

 

Rented furniture:
Other:

 

 

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No

CU bs sescccsrescscgecpe Issuer name and description:

 

Ill

 

 

Official Form 106A/B Schedule A/B: Property page 6
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Debtor  Yohn OconnorF Jr

Case number (it known)
First Name Middle Name Last Name

 

24. Interests in an education IRA, in an account ina qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

“ No
i

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

=F

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit
No a
QO) Yes. Give specific
information about them... | | $

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

W No

0 Yes. Give specific
information about them.... |

L

Rad

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
No

Q) Yes. Give specific
information about them.... |

<A

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
u No

C) Yes. Give specific information
about them, including whether | [
you already filed the returns | | State:
and the tax years. ...........ccccce. | |

Federal:
Local: a
29. Family support

Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

No 2
CJ Yes. Give specific information............ |

 

 

Alimony: $

| Maintenance: $

| Support: $
| Divorce settlement: $
Property settlement: $.

 

30. Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
Y No

U1 Yes. Give specific information. .....0.-.

Official Form 106A/B Schedule A/B: Property page 7

 

 

 
join Oconndr §5© 19-18813-RAM Doc1_ Filed 06/29/19 Page 17 of 41

Debtor 1 Case number (ir known)
First Name Middle Name Last Name

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

QO) No

(4 Yes. Name the insurance company

s : Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

i@ No

Q Yes. Give specific information..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

J No

C) Yes. Describe each Claim. ....cccccccccsse

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

4 No z ee EN
CD Yes. Describe each Claim. ..occcccccscosce

35. Any financial assets you did not already list

No
CI Yes. Give specific information............

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached 2 360
FOr; Pare 4, Welt Chics iL NTRS PSN ensssiccxscsneccsssisvccassiensoriansisanee anaes Me naiccnaeeteadidneean 3 > $ :

 

 

 

 

Ca Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
i No. Go to Part 6.
CI Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.
38. Accounts receivable or commissions you already earned
No — — _ =
CQ) Yes. Describe.......
i iS

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

4 No pith tae
QO) Yes. Describe......

Official Form 106A/B Schedule A/B: Property page 8
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Debtor 1 John Oconnor Jr

Case number (known),
First Name Middle Name Last Name

 

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
QI No
3000

41. Inventory
id No r - ies Z at z z = 2 mihi
Q) Yes. Describe.......

42. Interests in partnerships or joint ventures

 

 

 

 

 

 

 

 

 

 

 

 

WW No
C) Yes. Describe...... Name of entity: % of ownership:
eo Sita et eee
% fp de 1 Meee LE
% $
43. Customer lists, mailing lists, or other compilations
i No
C) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
QO) No is :
CQ Yes. Describe........ | Lg
44. Any business-related property you did not already list
i No
C) Yes. Give specific 5
information .........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 3000
BOREL; WWI: fFhetts MINE TEN snr vnersan rset gsEtoy ses occocsse, cs ctosses > a Swe

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
W No. Go to Part 7,
C) Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
O) No
NO ianeiaceal ee m — a Se Eee
| §

 

Official Form 106A/B Schedule A/B: Property page 9
Case 19-18813-RAM Doci1_ Filed 06/29/19 Page 19 of 41

Debtor1  YOhn Oconnor Jr
First Name Middle Name Last Name

 

48. Crops—either growing or harvested
No “

C) Yes. Give specific |
information. ............

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

No
Ne VE cor carers | i

50. Farm and fishing supplies, chemicals, and feed

No

51. Any farm- and commercial fishing-related property you did not already list
No
Q) Yes. Give specific |
information............. |

Case number (it known)

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached

for Part 6. Write that number here fea OSTA RET Tek WES ER gee ee

>

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

 

 

 

 

 

 

 

 

 

1 No =r :
UL) Yes. Give specific | SSS
information. ............ $
Sid a
54. Add the dollar value of all of your entries from Part 7. Write that number here ..cocscocccoeesoeceececeeeeecce > rug een
ee ui: the Totals of Each Part of this Form
55. Part 1: Total real estate, line 2 “ Ausninelticlscienionien nr omen rneen ananassae D> § Oo

56. Part 2: Total vehicles, line 5 $ ly ! Joe

57. Part 3: Total personal and household items, line 15 $ 2, 300d

58. Part 4: Total financial assets, line 36 52,3 0

59. Part 5: Total business-related property, line 45 $ se o °

60. Part 6: Total farm- and fishing-related property, line 52 $.

61. Part 7: Total other property not listed, line 54 +s

 

 

62. Total personal property. Add lines 56 through 61. wee

63. Total of all property on Schedule A/B. Add line 55 + line DF arn catty Nop ee Pc oiney vevayzs Se evauseacteaeua vena aeunessunupmerenete dbeee

Official Form 106A/B Schedule A/B: Property

 

| $ Nilo Copy personal property total > +¢ |\, lus

 

 

 

 

 

 
Case 19-18813-RAM Doci1_ Filed 06/29/19 Page 20 of 41

Fill in this information to identify your case:

peotr1  YOHN OCONNOR JR

First Name Middle Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name

 

United States Bankruptcy Court for the: Southern District of Florida

Case number C) Check if this is an
ir eaewn) amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B; Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that

limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Ea Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

a You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C0) You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and lineon Current value of the | Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption,
Schedule A/B

Brief

 

 

 

 

 

description: Checking $ 1200 Os

Line from 100% of fair market value, up to
Schedule A/B: _17. any applicable statutory limit
Brief j

description: -Savings = g 560 Og

 

Line from 7 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

 

Brief

 

 

description: Personalty/Car $ 9,500 Os
Line from 100% of fair market value, up to
Schedule A/B: _Per _ any applicable statutory limit

3. Are you claiming a homestead exemption of more than $155,675?
(Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
Q) No
W Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
No
WM Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2
-18813-RAM Doc1 Filed 06/29/19 Page 21 of 41
JOHN CONNOR Jia TBD

 

 

 

Debtor 4 Case number (known),
First Name Middle Name Last Name
Part 2: ERE Page
Brief description of the property and line Current value ofthe | Amount of the exemption you claim Specific laws that allow exemption

on Schedule A/B that lists this property portion you own

Brief

description: ee §

Line from
Schedule A/B:

Brief

description: ————————_ §

Line from
Schedule A/B;: ———

Brief

description: —____——.__ §

Line from
Schedule A/B:. ————

Brief

description: $

Line from
Schedule A/B:

Brief

description: ———————

Line from
Schedule A/B:. ———

Brief

description: ————————. $

Line from
Schedule A/B:. ———

Brief

description: ——————_ §

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B;: ———

Brief
description:

Line from
Schedule A/B: ————

Brief

description: ———————-_ 6

Line from
Schedule A/B:

Brief

description: —————— §

Line from
Schedule A/B: ———

Brief

description: ———__._ 3

Line from
Schedule A/B: — r

Official Form 106C

Copy the value from
Schedule A/B

Check only one box for each exemption

Os$

CI 100% of fair market value, up to
any applicable statutory limit

Os

4d 100% of fair market value, up to
any applicable statutory limit

Os

CJ 100% of fair market value, up to
any applicable statutory limit

Os

LI 100% of fair market value, up to
any applicable statutory limit

Os

CJ 100% of fair market value, up to
any applicable statutory limit

Os

I 100% of fair market value, up to
any applicable statutory limit

Os

L) 100% of fair market value, up to
any applicable statutory limit

Os

LI) 100% of fair market value, up to
any applicable statutory limit

Os

Cd 100% of fair market value, up to
any applicable statutory limit

Os

CD 100% of fair market value, up to
any applicable statutory limit

Ls

Q) 100% of fair market value, up to
any applicable statutory limit

Os

CJ 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

 

 

 

 

 

 

 

 

 

 

 

 

page 2 of 2
 

Case 19-18813-RAM Doc1

Fill in this information to identify your case:

John Oconnor JR

First Name

Debtor 1

 

Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name

United States Bankruptcy Court for the: Southern District of Florida

Case number
(If known)

 

 

Official Form 106D

 

Filed 06/29/19 Page 22 of 41

CL) Check if this is an

Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together,

amended filing

12/15

both are equally responsible for supplying correct

information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

CQ) Yes. Fill in all of the information below.

Ee ist All Secured Claims

Column A Column B Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately amountofclaim Value of collateral Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the that supports this _ portion
As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim ifany
State Farm BAnk Describe the property that secures the claim: $ 6,800 $ 13000 $
Creditor’s Name
PO BOX 3299 Toyota Tundra |
Number Street
As of the date you file, the claim is: Check all that apply.
4 Contingent
. _—
Milwaukee (ACS $20) OF uniiquidatea
City State ZIP Code QO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Wf Debtor 4 only (f An agreement you made (such as mortgage or secured
C1) Debtor 2 only car loan)
C1 Debtor 1 and Debtor 2 only C1 Statutory lien (such as tax lien, mechanic's lien)
Cl Atleast one of the debtors and another 1 Judgment lien from a lawsuit
CJ Other (including a right to offset)
C) Check if this claim relates to a
community debt
wan Date debt wan Incurred: Last 4 digits of account number cae
L 2.2] Describe the property that secures the claim: $ 3. 0 $5
Creditor's Name
Number Street
As of the date you file, the claim is: Check all that apply.
Q) Contingent
Q) unliquidated
City State ZIP Code O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 1 only C) An agreement you made (such as mortgage or secured

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

O Debtor 2 only
C1 Debtor 1 and Debtor 2 only
QO) Atleast one of the debtors and another

Q) Check if this claim relates to a
community debt

Date debt was incurred

 

Official Form 106D

Add the dollar value of your entries in Column A on this page. Write that number here: 6ap0 |

Schedule D: Creditors Who Have Claims Secured bv Property

car loan)
2 Statutory lien (such as tax lien, mechanic’s lien)
O Judgment lien from a lawsuit
CJ Other (including a right to offset)

 

Last 4 digits of account number __ =e Pt -

nana 1 af
Case 19-18813-RAM Doci1_ Filed 06/29/19 Page 23 of 41
Baber John Oconnor JR

= Case number (if known)
First Name Middle Name Last Name

 

Additional Page
After listing any entries on this page, number them beginning with 2.3, followed

Column A = Column B a a Column C 4
Amount of claim Value of collateral Unsecured

 

 

 

 

 

Donotdeductthe  thatsupportsthis portion
by 2.4, and so forth. iene teERe a
Describe the property that secures the claim: $ $ $.
Creditor's Name |
Number Street

 

 

 

 

As of the date you file, the claim is: Check all that apply.
Q) Contingent

 

|
City State ZIP Code Q) unliquidated |
CI Disputed

Who owes the debt? Check one. Nature of lien. Check all that apply. |

O) Debtor 4 only Q) An agreement you made (such as mortgage or secured |
| (2) Debtor 2 only car loan)
2 Debtor 1 and Debtor 2 only 1 Statutory lien (such as tax lien, mechanic's lien)

C) At least one of the debtors and another C) Judgment lien from a lawsuit

C1 Other (including a right to offset)
C) Check if this claim relates to a

community debt |

Date debt was incurred Last 4 digits of account number __

 

 

 

 

L_} Describe the property that secures the claim: $. $ $ |
Creditors Name |

| Number Street |

As of the date you file, the claim is: Check all that apply.

 

 

 

 

QO) Contingent |
CI unliquidated
City State ZIP Code O) disputed
Who owes the debt? Check one. Nature of lien. Check all that apply. |
C1 Debtor 4 only (CJ An agreement you made (such as mortgage or secured |
| O) Debtor 2 only car loan)
_ O) Debtor 1 and Debtor 2 only C1 Statutory lien (such as tax lien, mechanic's lien)
CJ At least one of the debtors and another CV Judgment lien from a lawsuit

ED Gheckif udecimnreuetoe C) Other (including a right to offset)

community debt

 

Date debt was incurred Last 4 digits of account number __

 

 

 

 

L_] Describe the property that secures the claim: $ $. $
Creditors Name |

 

 

 

Number Street

 

 

As of the date you file, the claim is: Check all that apply.

 

Q Contingent |
City State__ZIP Code QO) unliquidated
Q) disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CQ) Debtor 1 only Q) An agreement you made (such as mortgage or secured |
CQ) Debtor 2 only car loan)
Q) Debtor 1 and Debtor 2 only C) Statutory lien (such as tax lien, mechanic's lien)
C} At least one of the debtors and another 1 Judgment lien from a lawsuit
C1 Other (including a right to offset) |
Q) Check if this claim relates to a =)
community debt
Date debtwas incurred Last 4 digits of account number =

Add the dollar value of your entries in Column A on this page. Write that number here:

If this is the last page of your form, add the dollar value totals from all pages.
Write that number here:

 

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property nane af
Case 19-18813-RAM Doci1_ Filed 06/29/19 Page 24 of 41

Debtor 1 John Oconnor JR
First Name Middle Name Last Name

Eee ust Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.

 

Case number (itknown)

[_] On which line in Part 1 did you enter the creditor?

 

Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Number Street
City State ZIP Code

[ | On which line in Part 1 did you enter the creditor?
Name Last4 digits ofaccountnumber ae
Number Street
City State ZIP Code

[| On which line in Part 1 did you enter the creditor?
Name Last4 digits of accountnumber_— eee
Number Street
City State ZIP Code

[ ] On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number__ ik al
Number Street
City State ZIP Code

[] On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number __ ee Nh seth =
Number Street
City State ZIP Code

[| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number __ a
Number Street
City State ZIP Code

Official Form 106D

Part 2 of Schedule D: Creditors Who Have Claims Secured by Property

Last 4 digits of account number __

page
-18813-RAM Doc1_ Filed 06/29/19 Page 25 of 41

Fill in this information to identify your case:

 
    
  

  

 

    
  

 

pebtor? 4 YOHN OCONNOR JR

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing} First Name Middle Name Last Name

      

United States Bankruptcy Court for the: Southern District of Florida

  

C) Check if this is an
amended filing

 
 

Case number
(If known)

 

 
 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 4 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in aclaim. Also list executory contracts on Schedule

needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

ee All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

Wi No. Go to Part 2.
C) Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. Ifa claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

2.1

 

 

 

 

Priority Creditor's Name

 

 

 

Number Street

City State ZIP Code
Who incurred the debt? Check one.

C) Debtor 1 only

C1 Debtor 2 only

CI Debtor 4 and Debtor 2 only

CI Atleast one of the debtors and another

Q Check if this claim is for a community debt
Is the claim subject to offset?

CL) No

O ves

 

Priority Creditor's Name

 

Number Street

 

 

City State

Who incurred the debt? Check one.

C) Debtor 1 only

CQ) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

Q) Atleast one of the debtors and another

Q) Check if this claim is for a community debt

ZIP Code

Is the claim subject to offset?
No

QC) Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecurad Claime

Total claim Priority

amount

Nonpriority
amount

Last 4 digits of account number $ § $

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.
QO) Contingent

Q) unliquidated

C) Disputed

Type of PRIORITY unsecured claim:
C) Domestic support obligations
() Taxes and certain other debts you owe the government

Q) Claims for death or personal injury while you were
intoxicated

C) Other. Specify

 

Last 4 digits of account number __ ES = 1 $ $

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.
Q) Contingent

QO) Unliquidated

Q Disputed

Type of PRIORITY unsecured claim:
CL) Domestic support obligations
CJ Taxes and certain other debts you owe the government

1 Claims for death or personal injury while you were
intoxicated

C) Other. Specify

 

wenn A ek
JOHN OCONMGH@ JFD-18813-RAM Doci1 Filed 06/29/19 Page 26 of 41

number (if known)
First Name Middle Name Last Name

Your PRIORITY Unsecured Claims — Continuation Page

Debtor 1

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total claim _ Priority Nonpriority
amount amount
Last4digitsofaccountnumber ss  — ——ts«CSS, $ §
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Q) Contingent
City State ZIP Code O Unliquidated
LJ Disputed
Who incurred the debt? Check one.
Q) Debtor 4 only Type of PRIORITY unsecured claim:
a iia ae ” OC) Domestic support obligations
QO ace and : : ~ 7 y — Q) Taxes and certain other debts you owe the government
Pant One OF Ne Gables and another ©) Claims for death or personal injury while you were
Cd Check if this claim is for a community debt mitpioated
OQ) other. specify
Is the claim subject to offset?
C) No
CL) Yes
Last4digitsofaccountnumber Ss si, 5, 5,
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
C) Contingent
City State. ZIP Code Q) unliquidated
C) Disputed
Who incurred the debt? Check one.
CI Debtor 4 only Type of PRIORITY unsecured claim:
a om : aot 4 C1 Domestic support obligations
Q a oo eH A aneah Q) Taxes and certain other debts you owe the government
one SERIE A ey CJ Claims for death or personal injury while you were
C) Check if this claim is for a community debt miipncaied
CL} Other. Specify
Is the claim subject to offset?
C) No
_O Yes :
Last4 digits ofaccountnumber_ ss ts $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
City State ZIP Code Q) unliquidated
Q) disputed
Who incurred the debt? Check one.
C) Debtor 4 only Type of PRIORITY unsecured claim:
U1 Debtor 2 only (J Domestic support obligations
C) Debtor 1 and Debtor 2 only
Q) Taxes and certain other debts you owe the government
Cl At least one of the debtors and another i asi as :
Claims for death or personal injury while you were
C] Check if this claim is for a community debt intoxicated = eT ee
C) Other. Specify
Is the claim subject to offset?
QO No
C) Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims nana nf

 

 

 

 

 

 
Deb

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

4. List all of your nonpriority unsecured claims in the al

tor 4

JOHN OCON#OR JQ-18813-RAM Doci1 Filed 06/29/19 Page 27 of 41

Case number (fknown),

 

First Name Middle Name Last Name

C) No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

phabetical order of the creditor who holds each claim. If a creditor has more than one

nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

American Express

Nonpriority Creditor's Name

PO BOX 981537

 

Number Street
EL PASO
City State ZIP Code
Who incurred the debt? Check one.
4 Debtor 4 only
Q) Debtor 2 only
CJ Debtor 1 and Debtor 2 only
C) At least one of the debtors and another

Cd Check if this claim is for a community debt

Is the claim subject to offset?
i No
QO) Yes

l2 ] MACYS/DSNB

Nonpriority Creditors Name

PO BOX 8218

Number Street

MASON, OH 45040

 

City State ZIP Code

Who incurred the debt? Check one.

i Debior 1 only

CD Debtor 2 only

C) Debtor 1 and Debtor 2 only

(CI Atleast one of the debtors and another

C) Check if this claim is fora community debt

Is the claim subject to offset?
id No
QC) Yes

NORDSRTOM/TD BANK USA

Offici

Nonpriority Creditors Name

13531 E CALEY AVENUE
Number Street

ENGLEWOOD CO 80111

 

City State ZIP Code

Who incurred the debt? Check one.

id Debtor 1 only

O Debtor 2 only

QI Debtor 1 and Debtor 2 only

(C2 At least one of the debtors and another

C) Check if this claim is for a community debt
Is the claim subject to offset?

Wd No
Q) Yes

jal Form 106E/F

 

3 66 c Total claim

Last 4 digits of account number_#* == Neral j 49,982
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
Ww Contingent
O) unliquidated
C) Disputed
Type of NONPRIORITY unsecured claim:
C1 Student loans
Q Obligations arising out of a separation agreement or divorce

that you did not report as priority claims
Q Debts to pension or profit-sharing plans, and other similar debts
W@ other. Specify Consumer Crdit
Last 4 digits of account number ae A596 $. 976

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.

Ww Contingent
O) unliquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

Q) student toans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

& other. Specify_Consumer Credit

Last 4 digits of account ‘aire. G > z 2658

$

 

When was the debt incurred?

6/2016

As of the date you file, the claim is: Check all that apply.

wy Contingent
QO) unliquidated
O Disputed

Type of NONPRIORITY unsecured claim:

C) Student loans

C) Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

OQ debts to pension or profit-sharing plans, and other similar debts
Wf Other. Specify_Consumer Credit

Schedule E/F: Creditors Who Have Unseerurad Claime once se
peior1 9 YOHNOCONN@BJR-18813-RAM Doc1 Filed 06/29/49. .Page,28 of 41

 

First Name Middle Name Last Name

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

 

 

STATE FARM FINANCIAL

 

 

Nonpriority Creditor's Name

PO BOX 2313

 

Number Street

BLOOMINGTON, IL 61702

 

City State ZIP Code

Who incurred the debt? Check one.

4d Debtor 1 only

CQ) Debtor 2 only

C) Debtor 1 and Debtor 2 only

Cl Atleast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

QO) No
C) Yes

 

 

 

 

SYNCB/OLDNAVYDC

 

Nonpriority Creditor's Name

PO BOX 965005

 

Number Street

ORLANDO, FL 32986

 

City State ZIP Code

Who incurred the debt? Check one.

ld Debtor 4 only

C) debtor 2 only

Q) debtor 1 and Debtor 2 only

C) At least one of the debtors and another

CL) Check if this claim is for a community debt

Is the claim subject to offset?

if No
QI ves

CITIBANK HOMEDEPOT

 

Nonpriority Creditors Name

PO BOX 6497

Number Street

 

SIOUX FALLS SD 57117

City State ZIP Code

Who incurred the debt? Check one.

td Debtor 4 only

Q) Debtor 2 only

C2 Debtor 1 and Debtor 2 only

C2 Atleast one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?
No
CI Yes

Official Form 106E/F

Last4 digits ofaccountnumber = 8,510
When was the debt incurred? _6/2014

As of the date you file, the claim is: Check all that apply.

wf Contingent
Q) unliquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

(J student loans

iE] Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Q) Debts to pension or profit-sharing plans, and other similar debts
© other. specity

Last 4 digits of account number u ( 2 Ss $ 6,362
When was the debt incurred? 5/2013

As of the date you file, the claim is: Check all that apply.

vf Contingent
Q unliquidated
CJ Disputed

Type of NONPRIORITY unsecured claim:

CJ student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Q) Debts to pension or profit-sharing plans, and other similar debts

@ other. Specify_ consumer credit

oon sore ens =o are

Last 4 digits of account number

When was the debt incurred? 12/2007

As of the date you file, the claim is: Check all that apply.

ld Contingent
QO) unliquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

C) Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Q Debts to pension or profit-sharing plans, and other similar debts
id Other. Specify Consumer

Schedule E/F: Creditors Who Have Unsecured Claims page of
Debtor 1

JOHN OCONNGR JR-18813-RAM Doc1 Filed 06/29/19 Page 29 of 41

ase number (if known),

 

First Name Middle Name

Last Name

ed Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or

2, then list the collection agency here. Similarly,
additional creditors here. If you do not have additi

 

Name

 

Number Street

 

 

City

State

ZIP Code

 

Name

 

Number Street

 

 

 

Name

 

Number Street

 

 

City

ZIP Code

 

Name

 

Number Street

 

 

City

State

ZIP Code

 

Name

 

Number Street

 

 

_Siy

State

=== Ae

 

Name

 

Number Street

 

 

__City

 

 

Name

 

Number Street

 

 

City

Official Form 106E/F

State

ZIP Code

(aie

if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
onal persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): OC) Part 1: Creditors with Priority Unsecured Claims
Q) Part 2: Creditors with Nonpriority Unsecured Claims

 

Last 4 digits of account number __

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
J Part 2: Creditors with Nonpriority Unsecured

 

Claims

Last 4 digits of account number _

On which entry in Part 1 or Part 2 did you list the original creditor?

 

Line of (Check one): L) Part 1: Creditors with Priority Unsecured Claims
Q) Part 2: Creditors with Nonpriority Unsecured

Claims

Last 4 digits of account number __

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims

C) Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number ___

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): () Part 1: Creditors with Priority Unsecured Claims
C) Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number __

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): L) Part 1: Creditors with Priority Unsecured Claims
C) Part 2: Creditors with Nonpriority Unsecured

 

Claims

Last 4 digits of account number __

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): Q) Part 1: Creditors with Priority Unsecured Claims
C1 Part 2: Creditors with Nonpriority Unsecured

 

Claims

Last 4 digits of account number ___

Schedule E/F: Creditors Who Have Unsecured Claims nana nf Bh
Debtor 1

JOHN OCOMNaGR JQ-18813-RAM Doci1 Filed 06/29/19 Page 30 of 41

 

First Name

Ea Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

Middle Name Last Name

Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

Official Form 106E/F

6a.

6b.

6c.

6d.

6e.

6h.

6i.

Domestic support obligations

Taxes and certain other debts you owe the
government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6g.

6h.

6i.

gj.

Schedule E/F: Creditors Who Have Unsecured Claime

Case number ¢rknown)

 

Total claim
$
$

I

<f

 

 

 

 

OQ

 

 

+s

 

Total claim
5.
_-_-
Lie Waal Sar ea,
$.

 

G26

 

 

98 ,G2

 

:

 
Case 19-18813-RAM Doci1_ Filed 06/29/19 Page 31 of 41

Fillin this information to identify your case:

pebtor 4 JOHN OCONNER

First Name Middle Name Last Name

Debtor 2
(Spouse If filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of Florida

eal QO Check if this is an
amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1, Do you have any executory contracts or unexpired leases?
4 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
C) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

(2.1

 

Name

 

Number Street

 

City State ZIP Code
2.2

Name

 

 

Number Street

 

 

ae Siie____Zip Code
2.3

 

Name

 

Number Street

 

Gly Slate ZIP Code
2.4

Name

 

 

 

Number Street

 

City : State ZIP Code

 

Name

 

Number Street

 

City State ZIP Code

Official Form 106G Schedule G: Executorv Contracts and IInavnirad | asenc -
Case 19-18813-RAM Doci1 Filed 06/29/19 Page 32 of 41

Debtor? JOHN OCONNER

Case number (i known)

 

First Name

Middle Name

Last Name

a Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

City

|2-_|

State

ZIP Code

 

Name

 

Number

Street

 

City

ZIP Code

 

Name

 

Number

Street

 

City

la

State

ZIP Code

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

City

Official Form 106G

State

ZIP Code

Schedule G: Executory Contracts and Unexpired Leases

What the contract or lease is for

pade

of
Case 19-18813-RAM Doci1 Filed 06/29/19 Page 33 of 41

Fill in this information to identify your case:

Debtor 1 JOHN OCONNOR JR

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: Southern District of Florida

Case number
(If known)

 

L) Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 1215

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more Space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and

 

1. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.)

44 No
CO Yes

2. Within the last 8 years, have you lived ina community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

4 No. Go to line 3.
QC) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

QO) No

Q) Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a se C) Schedule D, line
C) Schedule E/F, line
Number Street Q) Schedule G, line
City State ZIP Code
3.2
Name Q) Schedule D, line
Q) Schedule E/F, line
Number Street UI ScheduleG, line
City State ZIP Code
3.3
Sane Q) Schedule D, line
C] Schedule E/F, line
Number Street C) Schedule G, line pata
City State ZIP Cade

Official Form 106H Schedule H: Your Codebtors ee
Debtor 1

First Name

Last Name

| Page to List More Codebtors

Column 1: Your codebtor

i

Case number ¢t known)

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

 

City

State

ZIP Code

 

Name

 

Number

 

City

ZIP Code

 

Name

 

Number

Street

 

City

ZIP Code

 

Name

 

Number

Street

 

 

City

State

ZIP Code

 

Name

 

Number

Street

 

eet ena

Official Form 106H

State

iE Code

Schedule H: Your Codebtors

Case 19-18813-RAM Doci1_ Filed 06/29/19 Page 34 of 41
JOHN OCONNOR JR

 

 

Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

C] Schedule D,line_
Q) Schedule E/F, line
Q) Schedule G, line

Schedule D, line
Schedule E/F, line
Schedule G, line

Ooo

Schedule D, line
Schedule E/F, line
Schedule G, line

Ooo

Schedule D, line
Schedule E/F, line
Schedule G, line

Ooo

Schedule D, line
Schedule E/F, line
Schedule G, line

Ooo

Schedule D, line
Schedule E/F, line
Schedule G, line

ooo

Schedule D, line
Schedule E/F, line
Schedule G, line

oOog

QO) Schedule D, line
C) Schedule E/F, line
QO) Schedule G, line

 
Case 19-18813-RAM Doci1_ Filed 06/29/19 Page 35 of 41

Fillin this information to identify your case:

Debtor1  YOHN OCONNOR JR

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of Florida

Case number Check if this is:
(If known)
C) An amended filing

CJ A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 moO Dwr
Schedule I: Your Income 42/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

BERRI Descrive Employment

 

 

 

1. Fill in your employment
information. Debtor 1 Debtor 2 or non-filing spouse

If you have more than one job,

 

 

 

 

 

 

attach a separate page with
information about eakichal Employment status 4 Employed C) Employed
employers. C) Not employed L) Not employed
Include part-time, seasonal, or
lf-empl :
ae oe Carpenter/Handyman
Occupation may include student
or homemaker, if it applies.
Employer's name J. Oconnor Service INC caro ees
Employer's address 18944 SW 3138 Terrace
Number Street Number Street
Homestead FL 33030
City State ZIP Code City State ZIP Code

How long employed there?

Ea Give Details About Monthly Income

 

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll

 

 

 

deductions). If not paid monthly, calculate what the monthly wage would be. —.2. $ 2800 $
3. Estimate and list monthly overtime pay. 3; “KS 0 + $s 0
4. Calculate gross income. Add line 2 + line 3. 4.) $ 2800 Seed eb u.

 

 

 

 

 

Official Form 1061 Schedule |: Your Income page 1
Case 19-18813-RAM Doci1 Filed 06/29/19 Page 36 of 41
Debtor 1 JOHN OCONNOR JR

Case number (known),

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Gna Fine WANG ississsssosesrsnisvcsccizabcnstvantguseipcbisbiebae ce seasscslestevzrescec seasons SPAS s___ 2800. $
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a.  § 240 $
5b. Mandatory contributions for retirement plans 5b. 0 $ 0
Sc. Voluntary contributions for retirement plans Sc. §., 0 $ 0
5d. Required repayments of retirement fund loans Sd. $ 0 $ 0
Se. Insurance Se. § 0 $ 0
5f. Domestic support obligations of. $ $ 0
$ 0 $ 0
5g. Union dues 5g.
5h. Other deductions. Specify: 5h. + +¢ 0
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d +5e +5f+5g+5h. 6. $ $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. t $s 2360 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0 $ 0
monthly net income. 8a.
8b. Interest and dividends 8b. §

 

 

8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Include alimony, spousal support, child support, maintenance, divorce $ 0 $
settlement, and property settlement. &c.
8d. Unemployment compensation ad. § 0 $
8e. Social Security 8e. ¢§ 0 $ 0
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: oF. =6§. 0 § 0
8g. Pension or retirement income 89. § 0 $ 0
8h. Other monthly income. Specify: 8h. +§ 0 +$
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + Bf +8g + 8h. 9. $ 0 $. 0
10. Calculate monthly income. Add line 7 + line 9. ! $ 2360 + $ = 2360
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10.

 

 

 

 

 

1

=

. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried Partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

Specify: 11,.% $ 0
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 2360
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies Ti : eee Le
Combined

monthly income
13.Do you expect an increase or decrease within the year after you file this form?

@ No.

 

 

Q) Yes. Explain:

 

 

 

Official Form 1061 Schedule I: Your Income page 2
Case 19-18813-RAM Doci1_ Filed 06/29/19 Page 37 of 41

Fill in this information to identify your case:

John Oconnor Jr
Pr aes Tiaae Name Check if this is:

Debtor 2 :
(Spouse, if filing) First Name Middle Name Q An amended filing

CJ A supplement showing postpetition chapter 13
expenses as of the following date:

 

United States Bankruptcy Court for the: Southern District of Florida

Case number —————
ar ) MM / DD/ YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1: Describe Your Household

1. Is this a joint case?

@ No. Goto line 2.
CL) Yes. Does Debtor 2 live ina separate household?

W@ No
Q) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? OC] No

 

 

 

 

 

 

Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and & Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent... eee u
Do not state the dependents’ Daughter 1 8 wt Ne
names. Yes
Daughter 2 8 UO No
aw Yes
Son 11 No
4 Yes
QC) No
CD Yes
QC) No
QO) Yes
3. Do your expenses include @ No
expenses of people other than

yourself and your dependents? |] Yes

GEREN estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement ina Chapter 13 case to report

expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

Such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses

ee
4. The rental or home ownership expenses for your residence. Include first mortgage payments and

0
any rent for the ground or lot. 4. $,

 

If not included in line 4:

4a. Real estate taxes 4a. § - ene 1) 0
4b. Property, homeowner's, or renter’s insurance 4b. - eens
4c. Home maintenance, repair, and upkeep expenses eel pe oy Oe
4d. Homeowner's association or condominium dues 4d. Roos a eee
Official Form 106J Schedule J: Your Expenses page 1
Case 19-18813-RAM Doc1 Filed 06/29/19 Page 38 of 41

John Oconnor Jr

 

 

Debtor 1
First Name Middle Name Last Name

5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:
7. Food and housekeeping supplies

12.

13.
14,

15.

16.

17.

18.

19.

20.

Official Form 106J

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services

. Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20,

15a, Life insurance
15b. Health insurance
15c. Vehicle insurance

18d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:

 

Case number (it known)

 

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule |: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

 

 

 

 

 

 

 

 

Your expenses
a ee
0
5. $
6a 150
6b. § iz at
Bis sop BO
éd. §$
7. $ 1200
8. $ 00
10. §¢ 50
1. § 50
12, §
13. $. 300
4. § 0
15a. § 36
15b. §
15. § 130
15d.  $ 0
0

Beg! a aa ee
17a. $
17b. ns
a a oe ae A
Gait feed)

18. ¢

19. § 0
20a. $
20b. Rue acta ee De
20c. Re Sr
20d. §. 0
20e.

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Nn
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Debtor 1 John Oconnor Jr

Case number ¢t known)
First Name Middle Name Last Name

21. Other. Specify: 21.

22. Calculate your monthly expenses.

22a. Add lines 4 through 21. 22a.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b.
22c. Add line 22a and 22b. The result is your monthly expenses. 22c.

 

23. Calculate your monthly net income.

 

2360

23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $

23b. Copy your monthly expenses from line 22c above. 23b.  _¢ 2216

23c, Subtract your monthly expenses from your monthly income. 144
The result is your monthly net income. 23c. Vi

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

@ No.
) Yes. Explain here:

Official Form 106J Schedule J: Your Expenses page 3
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Fill in this information to identify your case:

     

Check one box only as directed in this form and in

Form 1224-1Supp:

Debtor 4 John Oconnor Jr
First Name Middle Name Last Name

BS uw 1, There is no presumption of abuse.
ior

(Spouse, if filing) First Name Middle Name Last Name C) 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Calculation (Official Form 1224-2),

 

United States Bankruptcy Court for the: Southern District of Florida

Case number () 3. The Means Test does not apply now because of
(If known) qualified military service but it could apply later.

 

 

Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 425

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Ca Calculate Your Current Monthly Income

 

 

1. What is your marital and filing status? Check one only.
CJ Not married. Fill out Column A, lines 2-11.
Q) Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

Married and your spouse is NOT filing with you. You and your spouse are:
u Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

CL) Living separately or are legally separated. Fill out Column A, lines 2-1 1; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions

(before all payroll deductions). $___ 2800 $0
3. Alimony and maintenance payments. Do not include payments from a spouse if 0 (0)
Column B is filled in. Pic $

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not
filled in. Do not include payments you listed on line 3. Pe Gi 0)

5. Net income from operating a business, profession, Debtor 4 Debtor 2

 

 

 

or farm

Gross receipts (before all deductions) Sotrru $ 0

Ordinary and necessary operating expenses -$ 0-5 0

Net monthly income from a business, profession, or farm ¢ 0 ¢ ae $ 0 $ ,
6. Net income from rental and other real property Debtor 1 Debtor 2

Gross receipts (before all deductions) Sea Ogee V

Ordinary and necessary operating expenses -$ O-$§ 0

Net monthly income from rental or other real property $ 0 $ 0 ne $ 0 $ 0 2
7. Interest, dividends, and royalties $ 0 o_O}

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1
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Debtor 1 John Oconnor Jr Case number (known
First Name Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ 0 $ 0

 

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here: ............00..cccc0...

FOr YOUF SPOUSE... eseescseessseetiennnsneeetinneennn  §

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ 0 $

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. If necessary, list other sources on a separate page and put the total below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

eee $ 0
$ 0 0
Total amounts from separate pages, if any. +§ O +s 0
11. Calculate your total current monthly income. Add lines 2 through 10 for each + =
column. Then add the total for Column A to the total for Column B. $ 2800 $ ¢ 2800
Total current
monthly income
Determine Whether the Means Test Applies to You
12. Calculate your current monthly income for the year. Follow these steps: i
12a. Copy your total current monthly income fromm lime 11. ....cc-cccssssssessssscscssssssssssssssssssssseeeeeuessststteeeeeeeeecccee Copy line 11 here> $____—« 2800
Multiply by 12 (the number of months in a year).
12b. The result is your annual income for this part of the form.
13. Calculate the median family income that applies to you. Follow these steps:
Fill in the state in which you live. FL
Fill in the number of people in your household. 5
Fill in the median family income for your state and size Of HOUSCHOID. ...cccscascsscsssosscssssovsessssssessssiessvsseiesesteesteeoeeeee 13. ¢___ 64338

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

14. How'do the lines compare?

14a. Ml Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

14b. Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.

=

 

By nd. | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.
i
x Yi be (ewe). x
Ve fof Debtor 1 / Signature of Debtor 2
pad 06/25/2019 a
MM/ DD /YYYY MM/ DD /YYYY

If you checked line 14a, do NOT fill out or file Form 1224-2.
If you checked line 14b, fill out Form 122A—2 and file it with this form.

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2

 
